            Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 1 of 11




JOHN W. HUBER, United States Attorney (No. 7726)             . . , , ·::FILED
                                                                            '~''T t'·r1      T
STEWART M. YOUNG, Assistant United States Attorney (No. 14377) ·'           ''-'' '• .       ;
STEWART C. WALZ, A~sistant U:nited States Attorney (No. 3374)z2!"l t\PH -· 5 r) I~: Sl
MARK Y. HIRATA, Assistant Umted States Attorney (No. 5087)                 ·
CY H. CASTLE, Assistant United States Attorney (No. 4808)       ,.;:·, ~~T              i.f-

Attorneys for the United States of America
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111
Telephone: (80 1) 524-5682


                     IN THE UNITED STATES DISTRICT COURT

                      DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                          Case No.

                      Plaintiff,
                                                   INDICTMENT
       v.
                                                   Vio.
TERRY CHARLES DIEHL,
                                                   18 U.S.C. § 152(3) (False Declaration)
                      Defendant.                   Counts 1-5

                                                   18 U.S.C. § 152(1) (Concealment of
                                                   Assets)
                                                   Counts 6-12

                                               Case: 2:17 -cr-00208
                                               Assigned To : Nuffer, David
                                               Assign. Date : 04/05/2017
       The Grand Jury charges:
                                               Description: USA v.
       At all times relevant to this Indictment:

       1.       Defendant TERRY CHARLES DIEHL ("defendant DIEHL") was a

resident of Salt Lake County, Utah, and resided at a house on Prospector Drive in Salt



                                              1
           Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 2 of 11




Lake City, Utah 84121 ("Prospector Drive address"). Defendant DIEHL was primarily

engaged in the business of real estate development and consulting. Defendant DIEHL

also was a member of the Utah Transit Authority's ("UTA") Board of Trustees from

2001 to 2011.

      2.        Defendant DIEHL had two daughters, M.D.H. and B.J.D. M.D.H. resided

in Salt Lake City, Utah 84121. B.J.D. resided at various addresses in Dallas, Texas.

SVA's Formation and Management

      3.        On or about November 22,2011, defendant DIEHL caused Skyline Venture

Associates, Inc. ("SVA") to be created as a corporation registered with the Utah Division

of Corporations and Commercial Code, and owned by his daughters, M.D.H. and B.J.D.

Although having no ownership interest in SVA on paper, during the period from around

December 2011 up to and past May 2013, defendant DIEHL managed and controlled all

of SVA's day-to-day business affairs and financial activities.

SVA's Bank Account

       4.       On or about December 21, 2011, defendant DIEHL directed the opening of

a business account (account number ending in 5224) under SVA at JPMorgan Chase

Bank (the "SVA account"), listing his Prospector Drive address as SVA's business

address.    The three authorized signers on the SVA account were M.D.H., B.J.D., and

K.M. K.M. was defendant DIEHL's office manager and booldceeper. During the

period from December 2011 to May 2013, neither M.D.H. or B.J.D. had any involvement



                                             2
            Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 3 of 11




with managing or handling the SVA account. During that same period, and acting at

defendant DIEHL's instruction and direction, K.M. conducted numerous transactions

involving funds transferred in and out of the SVA account, including deposits, checks,

wire transfers, and account-to-account transfers.

Chapter 11 Bankruptcy- Background

       5.       A voluntary bankruptcy case is begun by the filing of a bankruptcy petition,

and the person who files that petition is a "debtor" under federal bankruptcy law.      A

debtor may file, among other petitions, a chapter 11 bankruptcy petition.      The process is

conducted in federal court and is governed by the United States Bankruptcy Code, which

is found in Title 11 of the United States Code.

       6.       Upon the filing of a bankruptcy petition, a debtor is required by law to fully

disclose his or her financial circumstances, including, among other things, assets,

liabilities, income from prior years, current income, and any anticipated increase in

mcome.       Assets include real, personal, tangible, and intangible property, whether the

asset is held in the debtor's name or held in the name of another person or entity on

behalf of the debtor.    A bankruptcy "estate" is created upon the filing of a bankruptcy

petition, which is a collective reference to all legal or equitable interests of the debtor in ·

property at the time of the banlauptcy filing, including all property in which the debtor

has an interest, even if it is owned or held by another person.    The estate also includes

all property the debtor acquires after commencement of the case, including earnings from



                                               3
            Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 4 of 11




services performed.

       7.       In an individual Chapter 11 banlauptcy, the debtor keeps possession and

control of the assets (referred to as the "debtor in possession") in the estate, while

attempting to reduce debt and reorganize his financial affairs under the watchful eyes of

the United States Trustee (a civil component of the U.S. Department of Justice),

creditors, appointed unsecured creditors' committee, and the banlauptcy court.         The

banlauptcy system is based on the fundamental premise and requirement that a debtor

will make full disclosure of all assets and liabilities.   In short, the price of banlauptcy is

full disclosure.   Accordingly, a debtor in possession assumes the position of a fiduciary

(i.e., a person who has the power and obligation to act for another under circumstances

which require total trust, good faith, and honesty) of the debtor's bankruptcy estate.         The

debtor is required to file with the banlauptcy court, under penalty of perjury, documents

requiring full, accurate, and complete disclosure of his past and current financial status,

including, among other filings, a: (1) Summary of Schedules (e.g., Assets and Liabilities;

Current Income and Expenditures); and (2) Statement of Financial Affairs.

       8.       Additionally, the debtor in possession must file a disclosure statement and

plan of reorganization.    The purpose of the disclosure statement is to describe a debtor's

assets, liabilities, repayment to creditors, and business affairs sufficient to enable a

creditor to make an informed judgment about a debtor's plan of reorganization.           The

disclosure statement must be approved by the banlauptcy court.         The plan and approved



                                                4
            Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 5 of 11




disclosure statement are provided to creditors for voting and, thereafter, the plan is

submitted to the bankruptcy court for confirmation.     To confirm a plan of

reorganization, the banlauptcy court must find, among other things, that the plan has been

proposed in good faith and not by any means forbidden by law.

       9.        During the period from the filing of the Chapter 11 petition to the

banlauptcy court's approval of the plan of reorganization, the debtor is required to file

with the bankruptcy court, under penalty of perjury, "Monthly Operating Reports"

summarizing, among other financial information, cash receipts and cash balances of any

operating accounts.     "Cash receipts" include cash from operations, sale of assets,

loans/advances, and "other" cash sources.

Defendant DIEHL's Chapter 11 Bankruptcy

       10. . On or about March 30, 2012, defendant DIEHL filed a voluntary petition

for relief under Chapter 11 of the U.S. Banlauptcy Code, Banlauptcy Petition No. 12-

24048, in the United States Bankruptcy Court for the District of Utah.

       11.      On or about April13, 2012, defendant DIEHL filed a Statement of

Financial Affairs, under penalty of perjury, and made the following misrepresentations,

among others:

        •    Questions 1 and 2 -Income from employment or operation of business -
             These questions required defendant DIEHL to state, among other things, "the
             gross amount of income [he had] received from ... operation of [his business]
             ... during the two years immediately preceding this calendar year" and any
             other sources of income for that period. (holding original). For the year 2011,
             defendant DIEHL falsely represented his gross business income as only

                                               5
           Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 6 of 11




             $376,708.83 and no income from any other sources. In truth and fact,
             defendant DIEHL received over $1,000,000 in gross income from the
             operation of his business involving real property stemming from a UTA Front
             Runner transit oriented development in Draper, Utah.

       •     Question 18 - Nature, location and name of business - This question
             required defendant DIEHL to identify "all businesses in which [he] was an
             officer, director, or managing executive of a corporation, ... within six years
             immediately preceding the commencement of this case, .... " (bolding original
             and emphasis added). Under this section, defendant DIEHL concealed and
             falsely omitted SVA, a corporation for which he managed and controlled
             exclusively its day-to-day business affairs and activities.


       12.      Following the creation of SVA, defendant DIEHL directed and facilitated

the transfer of funds under his control into the SVA account, including among other

funds: (1) payments for consulting services; (2) third-party loans extended to defendant

DIEHL; and (3) payments on third-party loans extended by defendant DIEHL.

       13.      During the period from April2012 to May 2013 (the "plan confirmation

period"), defendant DIEHL filed 13 Monthly Operating Reports ("MOR"), each under

penalty of perjury, and made the following misrepresentations, among others, in 11 out of

13 reports:

Cash Flow Summary

       •      Cash Receipts -Under this section of the MOR, defendant DIEHL was
              required to disclose all "Cash Receipts," as explained in paragraph 9 above.
              Such cash receipts included, among other things: (1) payments to defendant
              DIEHL for consulting services stemming from his real estate development
              business; (2) loans extended to defendant DIEHL; and (3) payments on loans
              extended by defendant DIEHL. In truth and fact, however, defendant DIEHL
              significantly underreported on his MORs substantial funds he direCted,
              received, and controlled through the SVA account during the plan

                                               6
           Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 7 of 11




             confirmation period. In total, defendant DIEHL concealed and falsely
             underreported on his MORs approximately $800,000 during the plan
             confirmation period.

       • ·Cash Balance Summary- Under this section of the MOR, defendant DIEHL
          was required to disclose all operating accounts and ending monthly balances,
          in addition to the debtor in possession operating account he held at JPMorgan
          Chase Bank (account number ending in 1814). In each MOR, defendant
          DIEHL concealed and falsely omitted the SVA account and its ending balance,
          a bank account he used and controlled as an operating account throughout the
          plan confirmation period.

Cash Receipts Detail

       •     Under this section of the MOR, defendant DIEHL partially disclosed SVA as a
             "Payer" of consulting income to himself, the debtor in possession, and listed
             specific SVA payments received during each month of the plan confirmation
             period. This representation was false and misleading in that it did not
             disclose that defendant DIEHL controlled and directed each of these payments
             to himself out of the SVA account and concealed additional funds directed by
             him into the SVA account.

       14.      On or about May 20, 2013, the bankruptcy court confirmed defendant

DIEHL's Chapter 11 Plan of Reorganization.

                                    Counts 1 through 5
                                     18 u.s.c. § 152(3)
                                    (False Declaration)

       15.      By this reference, the Grand Jury incorporates the allegations in paragraphs

1 through 14 above as if fully alleged herein.

       16.      On or about each of the dates alleged below, during a pending bankruptcy

case in the United States Bankruptcy Court for the District of Utah, In re Terry Charles

Diehl, Bankruptcy Petition No. 12-24048, in the Central Division of the District of Utah,


                                              7
         Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 8 of 11




                              TERRY CHARLES DIEHL,

defendant herein, knowingly and fraudulently made a material false declaration,

certificate, and verification, each under penalty of perjury, for each of the following

bankruptcy filings, among others:

 Count      Date of  Title of Filing (Document Filing Number) I Material False
            Filing   Statements and Omissions (amounts approximate)
    1     04/13/2012 Statement of Financial Affairs (doc. 14)
                         • False Statement: Questions 1 and 2: $376,708.83 in gross
                            income during 2011 (actual gross income: over
                            $1,000,000).
                         • Omission: Question 18: SVA not listed.
    2     06/14/2012 Monthly Operating Report for period 5/1/2012 to 5/31/2012
                     (doc.23)
                         • False Statement: TotaL Cash Receipts: $27,529.84 (actual
                            cash receipts: $80,000)
                         • False and Misleading Statement: Cash Receipts Detail:
                            Consulting fees from SVA totaling $27,000
                         • Omission: SVA account balance not stated.
    3     08/14/2012 Monthly Operating Report for period 7/1/2012 to 7/31/2012
                     (doc. 56)
                         • False Statement: Total Cash Receipts: $29,433.97 (actual
                            cash receipts: $277,304.79)
                         • False and Misleading Statement: Cash Receipts Detail:
                            Consulting fees from SVA totaling $25,000
                         • Omission: SVA account balance not stated.
    4     01/14/2013 Monthly Operating Report for period 12/1/2012 to 12/31/2012
                     (doc. 124)
                         • False Statement: Total Cash Receipts: $27,442.76 (actual
                             cash receipts: $130,000)
                         • False and Misleading Statement: Cash Receipts Detail:
                             Consulting fees from SVA totaling $27,000
                         • Omission: SVA account balance not stated.
    5     04/15/2013 Monthly Operating Report for period 3/1/2013 to 3/31/2013
                     (doc. 180)
                         • False Statement: Total Cash Receipts: $25,634.34 (actual
                                              8
         Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 9 of 11




                                  cash receipts: $120,000)
                              •   False and Misleading Statement: Cash Receipts Detail:
                                  Consulting fees from SVA totaling $27,000
                              •   Omission: SVA account balance not stated.

Each count in violation of 18 U.S.C. §§ 152(3) and 2(b).

                                     Counts 6 through 12
                                      18 u.s.c. § 152(1)
                                   (Concealment of Assets)

        17.      By this reference, the Grand Jury incorporates the allegations in paragraphs

1 through 14 above as if fully alleged herein.

        18.      On or about each of the dates alleged below, during a pending bankruptcy

case in the United States Bankruptcy Court for the District of Utah, In re Terry Charles

Diehl, Bankruptcy Petition No. 12-24048, in the Central Division of the District of Utah,

                                  TERRY CHARLES DIEHL,

defendant herein, knowingly and fraudulently concealed, and caused to be concealed, an

asset belonging to the debtor's bankruptcy estate (i.e., funds controlled by defendant

DIEHL in the SVA account) from the United States Trustee and creditors, through the

following acts, among others, as described below:

 Count           Date    Acts of Concealment
   6          05/23/2012 Defendant DIEHL caused Boulder Ventures Development, Inc.
                         to issue an $80,000 check to SVA, which was deposited into the
                         SVA account on 5/29/2012.
    7         06/29/2012 Defendant DIEHL caused Urban Chase to issue a $277,304.79
                         check to Wasatch Pacific, Inc., which was deposited and
                         transferred to the SVA account on 7/9/2012.
    8         12/05/2012 Defendant DIEHL caused D.B. to issue a $30,000 check to
                         SVA, which was deposited into the SVA account on12/5/2012.

                                                 9
        Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 10 of 11




   9      12/06/2012 Defendant DIEHL caused Boulder Ventures Development, Inc.
                     to issue a $30,000 check to SVA, which was deposited into the
                     SVA account on 12/7/2012.
   10     12/23/2012 Defendant DIEHL caused K.G. to issue a $50,000 check to
                     SVA, which was deposited into the SVA account on 12/24/2012.
   11     02/28/2013 Defendant DIEHL caused K.G. to issue a $50,000 check to
                     SVA, which was deposited into the SVA account on 3/1/2013.
   12     02/28/2013 Defendant DIEHL caused The Thackeray Company, L.C. to
                     issue a $50,000 check to SVA, which was deposited into the
                     SVA account on 3/1/2013.

Each in violation of 18 U.S.C. §§ 152(1) and 2(b ).

                         FORFEITURE ALLEGATIONS
                   18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461
                               (Criminal Forfeiture)

        19.   Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon

conviction of any offense in violation of 18 U.S.C. § 152, as set forth in this

Indictment, the defendant shall forfeit to the United States of America all property,

real or personal, that constitutes or is derived from proceeds traceable to any

violation.    The property to be forfeited includes, but is not limited to, the

following:

        A money judgment equal to the value of all property, real or personal, which

constitutes or is derived from proceeds traceable to any violation of 18 U.S.C. §

152.

        20.    Substitute Assets: If the property described above as being subject to

forfeiture, as a result of any act or omission of defendant DIEHL:

                                             10
         Case 2:17-cr-00208-CW Document 1 Filed 04/05/17 Page 11 of 11




           a. Cannot be located upon the exercise of due diligence;

           b. Has been transferred or sold to, or deposited with, a third party;

           c. Has been placed beyond the jurisdiction of the Court;

           d. Has been substantially diminished in value; or

           e. Has been commingled with other property that cannot be subdivided
              without difficulty;

it is the intent ofthe United States, pursuant to 21 U.S.C. § 853(p), as incorporated

by 18 U.S.C. § 982(b) and/or 28 U.S.C. § 2461, to seek to forfeit any other

property of defendant DIEHL up to the value of the forfeitable property described

above.

                                        A TRUE BILL:


                                                !co\
                                        FOREPERSON OF THE GRAND JURY

APPROVED:




Assistant United States Attorneys


                                           11
